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                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF KANSAS


BENJAMIN WHITE,                                )
                                               )
                                 Plaintiff,    )
                                               )           CIVIL ACTION
v.                                             )
                                               )           No. 17-2476-JWL-TJJ
STELLAR RECOVERY, INC.,                        )
                                               )
                                Defendant.     )
                                               )
                                               )


                                 ORDER OF DISMISSAL

        Pursuant to the Notice of Dismissal filed by the plaintiff, IT IS ORDERED that this

case is dismissed without prejudice, each party to be responsible for their own costs.

        IT IS SO ORDERED.

        Dated this 24th day of April, 2018 at Kansas City, Kansas.


                                          s/ John W. Lungstrum
                                          JOHN W. LUNGSTRUM
                                          UNITED STATES DISTRICT JUDGE
